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 Fill in this information to identify your case:

  Debtor 1                  Leroy                                    Williams
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Eastern District of Texas

  Case number                        22-40352                                                                                        ❑   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                        there


                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                          From
    Number       Street                                                                Number    Street
                                                           To                                                                            To



    City                            State ZIP Code                                     City                         State ZIP Code



                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                          From
    Number       Street                                                                Number    Street
                                                           To                                                                            To



    City                            State ZIP Code                                     City                         State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

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                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the                                          $49,793.10
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2021       )         bonuses, tips                                          bonuses, tips
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business

    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2020       )         bonuses, tips                                          bonuses, tips
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2021       )
                                   YYYY




    For the calendar year before that:
    (January 1 to December 31, 2020       )
                                   YYYY




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Debtor 1             Leroy                                             Williams                                       Case number (if known) 22-40352
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

              ❑ No. Go to line 7.
              ❑ Yes.         List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                             paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                             not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                             include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                             an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                         ❑ Mortgage
                                                                                                                                         ✔ Car
             Toyota Financial Services                            02/01/2022                    $1,825.00                 $25,369.00
             Creditor's Name                                                                                                             ❑
             5005 N. River Blvd. NE                                                                                                      ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street

             Cedar Rapids, IA 52411
             City                         State      ZIP Code
                                                                                                                                         ❑ Suppliers or vendors
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




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Debtor 1             Leroy                                            Williams                                         Case number (if known) 22-40352
                     First Name              Middle Name              Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                              Dates of            Total amount paid     Amount you still           Reason for this payment
                                                              payment                                   owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State     ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                         Nature of the case                       Court or agency                                  Status of the case

                                                         Breach of contract
    Case title        Alex Hayton v. Leroy
                      Williams
                                                                                                 Florida Middle District Orlando Division        ❑ Pending
                                                                                                                                                 ❑ On appeal
                                                                                                 Court Name

    Case number 20-2250-GJK
                                                                                                 Number       Street
                                                                                                                                                 ✔ Concluded
                                                                                                                                                 ❑

                                                                                                 City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                         Describe the property                                 Date                 Value of the property



    Creditor’s Name


    Number       Street                                                  Explain what happened

                                                                      ❑ Property was repossessed.
                                                                      ❑ Property was foreclosed.
                                                                      ❑ Property was garnished.
    City                            State     ZIP Code
                                                                      ❑ Property was attached, seized, or levied.

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                    First Name              Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                             Describe the action the creditor took                      Date action was   Amount
                                                                                                                        taken
    Creditor’s Name


    Number     Street



    City                          State     ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600             Describe the gifts                                         Dates you gave     Value
     per person                                                                                                        the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State    ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.




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                     First Name           Middle Name            Last Name

     Gifts or contributions to charities        Describe what you contributed                                Date you              Value
     that total more than $600                                                                               contributed



    Charity’s Name




    Number     Street



    City                     State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                         Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred            Date payment or       Amount of payment
    Graham Legal, PLLC                                                                                       transfer was made
    Person Who Was Paid                         Attorney's Fee
                                                                                                             3/21/2022                            $0.00
    8501 Wade Blvd Ste 340
    Number     Street




    Frisco, TX 75034-6265
    City                     State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




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                    First Name           Middle Name             Last Name

                                               Description and value of any property transferred            Date payment or       Amount of payment
    Debtor CC, Inc.                                                                                         transfer was made
    Person Who Was Paid                        Debtor CC, Inc.
                                                                                                            03/14/2022                         $19.95
    Number     Street




    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of any property transferred            Date payment or       Amount of payment
                                                                                                            transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of property        Describe any property or payments            Date transfer was
                                                transferred                              received or debts paid in exchange           made

    Person Who Received Transfer


    Number     Street




    City                    State   ZIP Code

    Person's relationship to you




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                    First Name           Middle Name          Last Name



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number         Type of account or     Date account was            Last balance
                                                                                        instrument             closed, sold, moved, or     before closing or
                                                                                                               transferred                 transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
                                                                                    ❑ Money market
    Number      Street


                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                   Describe the contents                        Do you still have
                                                                                                                                           it?

                                                                                                                                         ❑ No
    Name of Financial Institution               Name
                                                                                                                                         ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                    State   ZIP Code




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                    First Name           Middle Name           Last Name



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else has or had access to it?            Describe the contents                          Do you still have
                                                                                                                                             it?

                                                                                                                                           ❑ No
    Name of Storage Facility                    Name
                                                                                                                                           ❑ Yes

    Number     Street                           Number    Street



                                                City                 State   ZIP Code

    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Where is the property?                       Describe the property                          Value


    Owner's Name
                                                Number    Street


    Number     Street

                                                City                 State   ZIP Code


    City                    State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.



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                                                Governmental unit                       Environmental law, if you know it               Date of notice


    Name of site                               Governmental unit



    Number       Street                        Number       Street


                                               City                  State   ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                       Environmental law, if you know it               Date of notice


    Name of site                               Governmental unit



    Number       Street                        Number       Street


                                               City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Court or agency                         Nature of the case                              Status of the case


    Case title
                                               Court Name
                                                                                                                                      ❑ Pending
                                                                                                                                      ❑ On appeal
                                                                                                                                      ❑ Concluded
                                               Number       Street


    Case number
                                               City                  State   ZIP Code




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                    First Name            Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
     Mr. Lee On The Track LLC                                                                                Do not include Social Security number or ITIN.
    Name
                                                   Record producer
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed

                                                                                                              From 2014            To Present

    City                    State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




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                  First Name           Middle Name            Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
 and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘ /s/ Leroy Williams
       Signature of Leroy Williams, Debtor 1


       Date 04/20/2022




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑ Yes

 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
   ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).
